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                                  KP-0435
                              
                        
          
        
      
    
  

  

  
    
      KP-0435
              Ken Paxton
                  
        Categories
                        
Constitutional Law - Texas
              , 
Use of Public Funds
              , 
Counties and County Commissioners Courts
              , 
Purchasing and Contracts
              , 
Public Contracts
              , 
Interlocal Cooperation
              , 
Special Districts and Authorities
              , 
Hospital Districts
        
      
            
                  Summary
                      Authority of a county to use tax revenue to pay a supplement to a hospital district in the county.
      
                          
            Opinion File
                         kp-0435.pdf 

      
          
                
        
      
    

          
        Related Requests
        
  
  
  

  
  
  

        

  
    RQ-0474-KP

      
  
                August 18, 2022

      
  
      
      
        Request PDF
                     RQ0474KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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